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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                  Plaintiff,                           No. CR 14-0175 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                            ORDER RE EXPERT HYLTON'S
                                       COMPANY,                                            LETTER
                                  14
                                                      Defendant.
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                                  17        At the hearing on February 19, PG&E shall be prepared to address the evidence provided

                                  18   by Expert Hylton regarding the continuing C-hook gouging (on the Cresta-Rio Oso Line),

                                  19   which letter PG&E has already received. The Official Tort Creditors Committee may also be

                                  20   heard (as well as Expert Hylton). Bring the best quality photos available.

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                                  22        IT IS SO ORDERED.

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                                  24   Dated: February 6, 2020.

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                                                                                             WILLIAM ALSUP
                                  27                                                         UNITED STATES DISTRICT JUDGE
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